Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 1 of 15

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15 -Ccv'ossssz e/zo/§ci&iori':c¢iaa;§? |;M
Fort Bend County - Court at Law 4 Laura Richard

County C!erk
Fort Bend County, Texas

CAUSE NO.

  

IN THB COUNTY COURT

AT LAW NO.

¢OOGOOWJWGW'J¢`HJCO’J<O'JCO'J

Defendants FORT BEND COUNTY, TEXAS
PL I IFF’S ORIGINAL PETITION
TO THE HONORABLE D OF SAID COURT:

NOW COM ‘ \ (“PIaintiH”), complaining of COMPANION

PROPERTY AND CAS CE CMJPANY' (“Companion”) and MILES

 

 

is a corporation engaged,in the business of insurance in this state. lt maybe serv ¢ process

by serving its registered agent, C T Corporation System, by certified mail, return receipt

PLAINTIFF’s ORIGINAL PF.TITION

 

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 2 of 15

requested, at 1999 Bryan St., Ste. 900, Dalias,y TX 75201-3136. Plaintiff requests service at,this

   
  
 
   

 

 

Un controversy exceeds the

`s Rule of Civil Procedure 47

$100,000, but not more than $200,000.

Venue is proper in Fort Bend County, Texas, "

events giving rise to the lawsuit occurred in this county, and '
of thisflawsuit is located in Fo_rt Bend County, Texas.

V. CONDITIONS PRECEDENT

Ali conditions precedent to recovery have been performed, waive, s » curre

PL.A.II\]'I`.IFF7 S ORIGINAL PETITION 2,

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 3 of 15

VI. FACTS

 

PLAINTII"F’S ORIGINAL PETITION 3

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 4 of 15

Plaintift”s claim. 'l`hus,,`Defendants Companion and Mr. McCready demonstrated they did

  
  

amount of loss to the Plaintiff. Defendants’ conduct cons

   
 

,m`,

Mi`srepresentation Regarding Policy or Insurer section Texas Ins ~¢ ce Co.

code § 541.051(1)(13).

PLAINTIFF’S ORIGINAL PETITION 4

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 5 of 15

L. Defendants Companion and Mr. McCready failed to make an attempt to settle Plaintiti"s

      
  

Q_

of the Unfair Settlement Practices section of the Texas Insurance oe. T .

§ 541.060(&)(7).

PLAINTIFF'S ORIGINAL PETITION 5

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 6 of 15

P. Defendant Companion failed to meet their obligations under the Texas Insurance Code

   
  
    

regar` ig t` ely acknowledging PlaintiH"s claim, beginning an investigation of Plaintiff’s

the Policy was reasonably clear.» However, `Defendants

refused to pay Plaintiti` in full, despite there being no

T. As a result of Def_endants’ wrongful acts and omissions, Plaintitf Was reed

professional services of the attorney and law firm Who are representing Plaint With respect

PLAINTIFF’S ORIGINAL PETITION 6

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 7 of 15

to these causes of action. To date, Defendants have failed to and refused to pay Plaintiff for

    
    
   
 

- air of the property
‘ laintift"s experience is not an isolated case. The acts and omissions of Defendants

committed in this ase or similar acts and oinissions, occur with such frequency that they

 

the adequate compensation as they are obligated to do under
and under the laws of the State of Texas, constitutes a breach of
with Plaintifl’. As a result of this breach of contract, Plaintitt` has su

described in this petition

PLAINTIFF’S ORIGINAL PETIT!ON 7

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 8 of 15

B. Cause of Action for Violation of Section 542

  

542 in this case.
C. DTPA Cause of Action
The Plainti;ft` re-alleges and incorporates revious and subsequent

paragraphs herein

'Ihe Plaintiff incorporates all the allegations '

PLAIN'I`IFF’S ORIGINAL PETITION 8

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 9 of 15

By their acts, omissions, failures, and conduct that are described in this petition,

    
 
  
  
   

Defendants 4' 4 ion and Mr.r McCready have violated Sections 17.46(b)(2), (5), (7), (12) and

C. Plaintiff that the insurance
e services were of a particular
r in violation of Section
D.
policy and Defendants7 adjusting and investiga v
rights, remedies, or obligations that they did not ‘ .
right to recover'under Section 17. 46_(b)(12) of the DTP *
E Defendants have breached an express warranty that`the c l age c sed b

PLAINTIFF’S ORIGINAL PETITION 9

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 10 of 15

the Plaintiff to recover under Sections l7.46(b)(12) and (19) and 17;50(a)(2) of

 

The Plaintift` `re-alleges and incorporates revious and subsequent

  

paragraphs herein

The Plaintitt` incorporates all the allegations i

PLA.INTIFF’S ORIGINAL PETITION lO

Case 4:15-cV-02712 Document1-1 Filed in TXSD on 09/17/15 Page 11 of 15

claim and Defendants’ failure to pay for the proper repair of the Plaintiff's home on which

 

knowingly as that term is used in the TeXas lnsurance Code.

PLAINTIFF’S ORIGINAL PETITION l l

Case 4:15-cV-02712 Document1-1 Filed in TXSD on 09/17/15 Page 12 of 15

E. Cause of Action for Breach of Duty of Good Faith and`Fair Dealing

  
 
    
       
   
  

z leges and incorporates by reference all previous and subsequent paragraphs
here`

Plaintiff incorpo . ll the allegations of the preceding paragraphs for this cause of

 

Defendants have waived and are sto ed frov rting any coverage defenses,

conditions,` exclusions, or exceptions to coverage n reservation of rights letter

to the Plaintiff.

claim against Defendants as damages under Section 542 of the Texas Insuran e Code, plus

PLAIN'I'IFF 1S ORIGINAL PETITION 12

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 13 of 15

prejudgment interest and attorneys fees. All the damages described in this petition are within the

 

 

.. n against by the imposition of
damages in an amount

ts for their wrongful

 

conduct and to set an example to deter Defendants and o_ similarly uat fro;i; committing

similar acts in the future

XII. ATTORNEYS" FEES

  
 

As a result of Defendants’ conduct that is described in this »-ti

PLAINTIFF’S ORIGINAL PETITION 13

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 14 of 15

the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance

   
  
    
 
  
 

Code, and Se .50 of the DTPA.
XIII. DISCOVERY

Under the TeXas ~ of »Civil Procedure 194, the D.efendants are requested to disclose

damages as may be found. In addition, Plaintiff requests the a"-
and any'appeal of this case, for all costs of court, for prejudgme ‘ .
allowed by law, and for any other and further relief, at law or in equi

show himselfto be justly entitled

PLAIN'HFF’s ORIGINAL PETITION 14

Case 4:15-cV-02712 Document 1-1 Filed in TXSD on 09/17/15 Page 15 of 15

Respectfully submitted,

ALLAN, NAVA, GLANDER & HOLLAND, PLLC
825 W. Bitters R`oad, Suite 102
San Antonio, Texas 78216
y Telephone: (210) 305`-4220
Telecopier: (2`10) 305-4219
serveone@ANGlanmn.com
` By: a§ ****

 
      

 

 

was Ho D
State `Bar,No. 24007379

WILLIAM N. ALLAN, tv

sra/rena No. 24012204

ATToRNEYs FoR THE PLAINTIFF

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PLAINTIFF’S ORIGINA.L PETITION l 15

